                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                             DOCKET NO. 3:92-CR-238
                           (Related Case No. 3:15-CV-311)


UNITED STATES OF AMERICA,                     )
                                              )
                                              )
               vs.                            )
                                              )               ORDER
                                              )
KAREEM ABDUL TOMLIN,                          )
                                              )
               Defendant.                     )

       THIS MATTER IS BEFORE THE COURT on the Defendant’s Motion to Place

Documents Under Seal and to Redact Documents (Document No. 56) filed December 2, 2019.

The government consents to the relief requested in Defendant’s Motion.

       In accordance with the Local Rules, the Court has considered the Motion, the public’s

interest in access to the affected materials, and alternatives to sealing. The Court determines that

the documents that Defendant seeks to have sealed contain sensitive and private information that

is inappropriate for public access and that it is appropriate to seal those documents. The Court

further finds that Defendant has submitted redacted versions of those documents and that the

redacted versions of those documents should be filed. Having carefully considered the motion

and the record, and for good cause, the undersigned will grant Defendant’s motion.

       IT IS, THEREFORE, ORDERED that the Defendant’s Motion to Place Documents

Under Seal and to Redact Documents (Document No. 56) is GRANTED, and the Court

ORDERS the following:

       1.      In case number 3:92-CR-238, document numbers 3-3, 3-4, and 41 are sealed until

further Order of this Court;

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       2.         In case number 3:15-CV-311, document number 1 is sealed until further Order of

this Court; and

       3.         The redacted versions of the foregoing documents submitted by Defendant as

attachments to his Memorandum in Support of Motion to Seal (Document No. 57) shall be filed.




                                                               Signed: December 20, 2019




                                                               SEALED DOCUMENT with access to Specified Parties/Defendants.




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